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                                 United States Bankruptcy Court
                                              District of Nevada


                                    MEMORANDUM OF CASE TRANSFER

TO:              Clerk, U.S. Bankruptcy Court for the Eastern District of Texas

FROM:            Glennda Wenszell, Deputy Clerk, U.S. Bankruptcy Court, District of Nevada

DATE:            1/26/2012

SUBJECT:         Transfer of Case Number 11−53706−btb , DHILLON GROUP, LLC, Debtor




We are hereby transmitting the original Bankruptcy file in the above−mentioned matter.

Please acknowledge receipt of same below and return to our office via e−mail. Thank you for your cooperation.




Receipt is hereby acknowledged of the above−noted transfer case and assigned new case number:
_________________________________.


Date: ________________                                    By:______________________________
                                                                  Deputy Clerk
